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                              UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TEXAS
                                     LUFKIN DIVISION

 UNITED STATES OF AMERICA                         §
                                                  §
                                                  §
 VS.                                              §            CASE NO. 9:11-CR-33
                                                  §
                                                  §
 ROBERT WAYNE DILLAHUNTY                          §


          FINDINGS OF FACT AND RECOMMENDATION ON GUILTY PLEA
               BEFORE THE UNITED STATES MAGISTRATE JUDGE

        By order of the District Court, this matter is referred to the undersigned United States

 Magistrate Judge for administration of the guilty plea under Rule 11. Magistrate judges have the

 statutory authority to conduct a felony guilty plea proceeding as an “additional duty” pursuant to 28

 U.S.C. § 636(b)(3). United States v. Bolivar-Munoz, 313 F.3d 253, 255 (5th Cir. 2002).

        On September 29, 2011, this cause came before the undersigned United States Magistrate

 Judge for entry of a guilty plea by the Defendant, Robert Wayne Dillahunty, to Count Twenty-six

 (26) of the Indictment. Count Twenty-six of the Indictment alleges that on or about February 27,

 2009, in the Eastern District of Texas, Defendant did knowingly and intentionally possess

 pseudoephedrine, a List 1 chemical, with intent to manufacture a controlled substance, or with

 knowledge or reasonable cause to believe that the listed chemical would be sued for the unauthorized

 manufacture of a controlled substance, namely a mixture or substance containing detectable amount

 of methamphetamine, in violation of 21 U.S.C. § 841(c)(1) and (c)(2) (Possession of a List 1

 Chemical).

        Defendant, Robert Wayne Dillahunty, entered a plea of guilty to Twenty-six of the Indictment



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 into the record at the hearing. After conducting the proceeding in the form and manner prescribed

 by Federal Rule of Criminal Procedure 11, the undersigned finds:

          a.        That Defendant, after consultation with his attorney, has knowingly, freely and

 voluntarily consented to the administration of the guilty plea in this cause by a United States

 Magistrate Judge in the Eastern District of Texas subject to a final approval and imposition of

 sentence by the District Court.

          b.        That Defendant and the Government have entered into a plea agreement which was

 disclosed and addressed in open court, entered into the record, and placed under seal. Defendant

 verified that he understood the terms of the plea agreement, agreed to the Government’s summary

 of the plea agreement, and acknowledged that it was his signature on the plea agreement. To the

 extent the plea agreement contains recommendations and requests pursuant to FED . R. CRIM . P. 11

 (c)(1)(B), the court advised the Defendant that he has no right to withdraw the plea if the Court does

 not follow the particular recommendations or requests. To the extent that any or all of the terms of

 the plea agreement are pursuant to Rule 11(c)(1)(A) or (C), the undersigned advised Defendant that

 he will have the opportunity to withdraw his plea of guilty should the Court not follow those

 particular terms of the plea agreement.1


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            “(3) Judicial Consideration of a Plea Agreement.
 (A) To the extent the plea agreement is of the type specified in Rule 11(c)(1)(A) or (C), the court may accept the
 agreement, reject it, or defer a decision until the court has reviewed the presentence report.
 (B) To the extent the plea agreement is of the type specified in Rule 11(c)(1)(B), the court must advise the defendant that
 the defendant has no right to withdraw the plea if the court does not follow the recommendation or request.
 (4) Accepting a Plea Agreement. If the court accepts the plea agreement, it must inform the defendant that to the extent
 the plea agreement is of the type specified in Rule 11(c)(1)(A) or (C), the agreed disposition will be included in the judgment.
 (5) Rejecting a Plea Agreement. If the court rejects a plea agreement containing provisions of the type specified in Rule
 11(c)(1)(A) or (C), the court must do the following on the record and in open court (or, for good cause, in camera):
 (A) inform the parties that the court rejects the plea agreement;
 (B) advise the defendant personally that the court is not required to follow the plea agreement and give the defendant
 an opportunity to withdraw the plea; and
 (C) advise the defendant personally that if the plea is not withdrawn, the court may dispose of the case less favorably
 toward the defendant than the plea agreement contemplated.” F ED . R. C RIM . P. 11(c)(3)-(5).

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         c.      That Defendant is fully competent and capable of entering an informed plea, that

 Defendant is aware of the nature of the charges and the consequences of the plea, and that the plea

 of guilty is made freely, knowingly, and voluntarily. Upon addressing the Defendant personally in

 open court, the undersigned determines that Defendant’s plea is knowing and voluntary and did not

 result from force, threats or promises (other than the promises set forth in the plea agreement). See

 FED . R. CRIM . P. 11(b)(2).

         d.      That Defendant’s knowing and voluntary plea is supported by an independent factual

 basis establishing each of the essential elements of the offense and Defendant realizes that his

 conduct falls within the definition of the crimes charged under 21 U.S.C. § 841(c)(2).

                                    STATEMENT OF REASONS

         As factual support for Defendant’s guilty plea, the Government presented a factual basis. See

 Factual Basis and Stipulation. In support, the Government would prove that Robert Wayne

 Dillahunty is one and the same person charged in the Indictment and that the events described in the

 Indictment occurred in the Eastern District of Texas and elsewhere. The Government would also

 have proven, beyond a reasonable doubt, each and every essential element of the offense as alleged

 in Count Twenty-six of the Indictment through the testimony of witnesses, including expert

 witnesses, and admissible exhibits. In support of the Defendant’s plea, the undersigned incorporates

 the proffer of evidence described in detail in the factual basis and stipulation, filed in support of the

 plea agreement.

         Defendant, Robert Wayne Dillahunty, agreed with and stipulated to the evidence presented

 in the factual basis. Counsel for Defendant and the Government attested to Defendant’s competency

 and capability to enter an informed plea of guilty. Defendant agreed with the evidence presented by

 the Government and personally testified that he was entering his guilty plea knowingly, freely and

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 voluntarily.

                                RECOMMENDED DISPOSITION

        IT IS THEREFORE the recommendation of the undersigned United States Magistrate

 Judge that the District Court accept the Guilty Plea of Defendant which the undersigned determines

 to be supported by an independent factual basis establishing each of the essential elements of the

 offense charged in Count Twenty-six of the Indictment. It is also recommended that the District

 Court defer accepting the plea agreement until the District Court has reviewed the presentence report.

 Accordingly, it is further recommended that Defendant, Robert Wayne Dillahunty, be finally

 adjudged guilty of the charged offense under Title 21, United States Code, Section 841(c)(2).

        The District Court should defer its decision to accept or reject the plea agreement until there

 has been an opportunity to consider the presentence report. If the plea agreement is rejected and

 Defendant still persists in the guilty plea, the disposition of the case may be less favorable to

 Defendant than that contemplated by the plea agreement. Defendant is ordered to report to the

 United States Probation Department for the preparation of a presentence report. Defendant has the

 right to allocute before the District Court before imposition of sentence.

                                           OBJECTIONS

        Objections must be: (1) specific, (2) in writing, and (3) served and filed within fourteen (14)

 days after being served with a copy of ther report. See 28 U.S.C. § 636(b)(1); Fed. R. Civ. P. 1(a),

 6(b), and 72(b). A party’s failure to object bars that party from: (1) entitlement to de novo review

 by a district judge of proposed findings and recommendations, see Rodriguez v. Bowen, 857 F.2d

 275, 276-77 (5th Cir. 1988), and (2) appellate review, except on grounds of plain error of

 unobjected-to factual findings and legal conclusions accepted by the district court, see Douglass v.

 United Servs. Auto. Ass’n., 79 F.3d 1415, 1417 (5th Cir. 1996) (en banc). The constitutional


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 safeguards afforded by Congress and the courts require that, when a party takes advantage of her

 right to object to a magistrate’s findings or recommendation, a district judge must exercise its

 nondelegable authority by considering the actual evidence and not merely by reviewing and blindly

 adopting the magistrate’s report and recommendation. See Hernandez v. Estelle, 711 F.2d 619, 620

 (5th Cir. 1983); United States v. Elsoffer, 644 F.2d 357, 359 (5th Cir. 1981) (per curiam).


       SIGNED this 2nd day of October, 2011.




                                                       _________________________
                                                       Zack Hawthorn
                                                       United States Magistrate Judge




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